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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------X
 UNITED STATES OF AMERICA,

              - against -

                                                              ORDER
 DEIVY ALEXANDER ARTUNDUAGA RAMIREZ,
                                                        18 Cr. 352-1(NRB)
                Defendant.
 ----------------------------------X

 NAOMI REICE BUCHWALD
 UNITED STATES DISTRICT JUDGE


     Pursuant to the Criminal Justice Act, Donald J. Yannella is

assigned to represent the defendant in substitution for Amy Lester,

who has been relieved.



Dated:       New York, New York
             November 9, 2020




                                              NAOMI REICE BUCHWALD
                                          UNITED STATES DISTRICT JUDGE
